                         UNITED STATES COURT OF APPEALS
                             FOR THE EIGHTH CIRCUIT

                                        ___________________

                                            No: 08-2256
                                        ___________________

                                       United States of America,

                                                Plaintiff - Appellee

                                                  v.

                              Agron M. Simpson, also known as Mitch,

                                   Defendant - Appellant
______________________________________________________________________________

        Appeal from U.S. District Court for the Southern District of Iowa - Davenport
                                  (3:00-cr-00246-CRW-1)
______________________________________________________________________________

                                            JUDGMENT

        This appeal from the United States District Court was submitted on the record of the

district court and briefs of the parties.

        After consideration, it is hereby ordered and adjudged that the judgment of the district

court in this cause is affirmed in accordance with the opinion of this Court.

                                                       November 25, 2009




Order Entered in Accordance with Opinion:
Clerk, U.S. Court of Appeals, Eighth Circuit.
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            /s/ Michael E. Gans
